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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

 

In re: Chapter 11

LINENS HOLDING CO.,, et al.’
Case No. 08-10832 (CSS)
Debtors. (Jointly Administered)

 

 

ENTRY OF APPEARANCE, REQUEST FOR MATRIX ENTRY,
AND REQUEST FOR SERVICE OF NOTICES AND DOCUMENTS

PLEASE TAKE NOTICE THAT Emmes Asset Management Company LLC
and its related entities ("Emmes"), a party-in-interest in the above-captioned case, hereby
appears in the above-captioned case by its counsel, Smith, Katzenstein & Furlow LLP,
and such counsel hereby enters its appearance pursuant to § 1109(b) of the Bankruptcy
Code and Bankruptcy Rule 9010(b), and such counsel hereby requests, pursuant to
Bankruptcy Rules 2002, 3017 and 9007 and §§ 342 and 1109(b) of the Bankruptcy Code,
that copies of all notices and pleadings given or filed in this case be given and served
upon it at the following address and telecopy and telephone number:

Kathleen M. Miller

Smith, Katzenstein & Furlow

800 Delaware Avenue, 7th Floor
P.O. Box 410

Wilmington, DE 19899

Courier: 19801

Telephone: 302-652-8400
Telecopy: 302-652-8405
E-mail:Kimiller@skfdelaware.com

 

| The Debtors in these cases, along with the last four digits of the federal tax identification number for cach of the Debtors, are Linens
Holding Co. (2917), Linens ‘n Things, Inc. (3939), Linens ‘n Things Center, Inc. (0308), Bloomington, MN., L.T., Inc. (8498),
Vendor Finance, LLC (5543), LNL, Inc. (4668), LNT Services, Inc. (2093), LNT Leasing ll, LLC (4182), LNT West, Inc. (1975),

LNT Virginia LLC (9453), LNT Merchandising Company LLC (2616), LNT Leasing III, LLC (3599) and Citadel LNT, LLC (2479).

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September 12, 2008 SMITH, KATZENSTEIN & FURLOW, LLP

 

 

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Attorneys for Emmes Asset Management
Company LLC

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CERTIFICATE OF SERVICE

I hereby certify that on this 12" day of September, 2008 a copy of the foregoing
ENTRY OF APPEARANCE, REQUEST FOR MATRIX ENTRY, AND REQUEST
FOR SERVICE OF PAPERS was served on the following parties by first class mail:

Mark D. Collins, Esquire
Michael J. Merchant, Esquire
John H. Knight, Esquire

RICHARDS, LAYTON & FINGER, P.A.

920 N. King Street
Wilmington, DE 19801
Debtors’ Counsel

United States Trustee

844 King Street, Room 2207
Lockbox #35

Wilmington, DE 19899-0035

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“Miller OO D. No. —
